              Case 2:04-cr-00061-WBS Document 84 Filed 12/06/06 Page 1 of 4


1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    JEFFREY L. STANIELS, Bar #91413
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    SHEKHINEH SULLIVAN
7
8                          IN THE UNITED STATES DISTRICT COURT
9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,       )        No. 2:04-cr-061-02 WBS
11                                   )
                    Plaintiff,       )
12                                   )        APPLICATION FOR WRIT OF HABEAS
          v.                         )        CORPUS AD PROSEQUENDUM; ORDER;
13                                   )        WRIT OF HABEAS CORPUS AD
     SHEKHINEH SULLIVAN,             )        PROSEQUENDUM
14                                   )
                    Defendant.       )        Date: December 7, 2006
15                                   )        Time: 9:00 a.m.
     _______________________________ )        Judge: Hon. William B. Shubb
16
17        Comes now Shekhineh Sullivan, defendant, by her attorney,
18   Assistant Federal Defender Jeffrey L. Staniels, who represents and
19   shows:
20        That there is now detained in the Sacramento County Main Jail,
21   Sacramento, California, in the custody of the Sheriff thereof, the
22   defendant in the above-entitled case, whose case will be called for a
23   supervised release Admit or Deny proceeding on the 7th day of December,
24   2006, at 9:00 a.m., and that it is necessary to have the defendant
25   present in the Courtroom of the Honorable William B. Shubb, Senior
26   United States District Judge of the United States District Court, U.S.
27   Courthouse, 501 I Street, Sacramento, California;            and in order to
28   secure the presence of the defendant it is necessary that a Writ of
              Case 2:04-cr-00061-WBS Document 84 Filed 12/06/06 Page 2 of 4


1    Habeas Corpus ad Prosequendum be issued commanding the United States
2    Marshal's Service, or the Sacramento County Sheriff, to produce the
3    defendant in court on said date, and at such other dates as may be
4    necessary in order to procure defendant's presence for other
5    proceedings incident thereto.
6         WHEREFORE, petitioner prays for an order directing the issuance of
7    a Writ of Habeas Corpus ad Prosequendum out of and under the seal of
8    this Court, directed to the Sheriff of Sacramento County, commanding
9    him to have and produce or cause to be produced the above-named
10   defendant in the United States District Court at said time, and then
11   and there to present the defendant before the Court and from day to day
12   thereafter as may be necessary, and at the termination of the
13   proceedings against the defendant to return defendant to the custody of
14   the Sheriff of Sacramento County.
15   DATED: December 6, 2006
                                                /S/ Jeffrey L. Staniels
16                                             JEFFREY L. STANIELS
                                               Assistant Federal Defender
17                                             Counsel for Shekhineh Sullivan
18
                                          O R D E R
19
          The application for a writ of habeas corpus ad prosequendum is
20
     hereby GRANTED.      The clerk is directed to issue the attached writ and
21
     deliver it to the U.S. Marshal for service.
22
          IT IS SO ORDERED.
23
                                   By the court,
24
     Dated:    December 6, 2006
25
26
27
28

     Application for Writ of
     Habeas Corpus Ad Prosequendum            -2-
            Case 2:04-cr-00061-WBS Document 84 Filed 12/06/06 Page 3 of 4


1
2
3
4
                         IN THE UNITED STATES DISTRICT COURT
5
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
6
7
8
9    UNITED STATES OF AMERICA,       ) No. 2:04-cr-061-02 WBS
                                     )
10                  Plaintiff,       )
                                     ) WRIT OF HABEAS CORPUS AD
11        v.                         ) PROSEQUENDUM
                                     )
12   SHEKHINEH SULLIVAN,             )
                                     )
13                  Defendant.       )
                                     )
14   _______________________________ )
15
16   THE PRESIDENT OF THE UNITED STATES OF AMERICA
17
18   TO:   The Warden, Sheriff or Jailor of Sacramento County Jail and to any
           United States Marshal:
19
20                                  G R E E T I N G S
21
22         WE COMMAND that you produce and deliver the person known as
23   SHEKHINEH SULLIVAN, now in your custody, before the Honorable William
24   B. Shubb, Senior United States District Judge, U.S. Courthouse, 501 I
25   Street, 14th Floor, Sacramento, California, on December 7, 2006, at the
26   hour of 9:00 a.m., in order that said defendant in the above-entitled
27   case may be present during hearing of her case, and also at such other
28   times and for such other purposes as may be ordered by the said Court,

     Application for Writ of
     Habeas Corpus Ad Prosequendum          -3-
           Case 2:04-cr-00061-WBS Document 84 Filed 12/06/06 Page 4 of 4


1    and have you then and there this Writ.
2         The delivery of the defendant to the custody of the United States
3    Marshal, or to the courtroom of the United States District Court, as
4    aforesaid, and then return by you of said defendant to your custody,
5    shall be deemed sufficient compliance with the Writ.
6         WITNESS the Honorable William B. Shubb, Senior United States
7    District Judge of the United States District Court for the Eastern
8    District of California.
9    DATED: December 6, 2006.
10                                          CLERK, UNITED STATES DISTRICT COURT
                                            Eastern District of California
11
12
                                            By:
13                                                       Deputy Clerk
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     Application for Writ of
     Habeas Corpus Ad Prosequendum         -4-
